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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )             Case No. 18-2846
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )             MOTION FOR ADMISSION, PRO
                                         )             HAC VICE, OF JOHN ILARDO
                                         )             AS ADDITIONAL COUNSEL FOR
                                         )             PLAINTIFF
                                         )
                           Defendants. )
                                         )


       Plaintiff American Oversight, by and through its undersigned counsel, Joseph F.

Yenouskas, an active member of the United States District Court for the District of Columbia,

hereby moves pursuant to Local Civil Rule 83.2(d), for the pro hac vice admission of John

Ilardo, in the above-captioned case. John Ilardo is a member in good standing of the State Bar of

Massachusetts. He is employed as an attorney with Goodwin Procter LLP located at 100

Northern Avenue, Boston, MA 02210. In support of this Motion, Mr. Ilardo’s declaration is filed

herewith.

Dated: December 4, 2018                             Respectfully submitted,

                                                    /s/ Joseph F. Yenouskas
                                                    Joseph F. Yenouskas (D.C. Bar No. 414539)
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